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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Western Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                      Case No.: 3:19−cr−50016
                                                        Honorable Matthew F. Kennelly
Floyd E. Brown
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 30, 2019:


        MINUTE entry before the Honorable Matthew F. Kennelly as to Floyd E. Brown:
Status hearing held on 5/30/2019. Jury trial is set for 1/11/2021 at 9:45 a.m. Status set for
8/6/2019 at 1:45 p.m. Ordered time excluded through 1/11/2021 due to the complexity of
the case, pursuant to 18 U.S.C. 3161(h)(7)(B)(ii). Mailed notice. (pjg, )




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